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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District ofNew Jersey

                  United States of America                          )
                               V.                                   )
                                                                    )       Case No. 23-mj-09187-CLW-1
                   KIMBER BRUNFMAN                                  )
                                                                    )         Charging District's
                           Defendaht                                )         Case No. 2:23-cr-185-MCS

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                   District of
(if applicable)   __[~l,v\~_.\-r~«\--'-----'i----- division.   The defendant may need an interpreter for this language:



          The defendant:        0 Will retain an attorney.
                                fis requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: Tbe United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deJjver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defe~dant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk df court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.
                                                                                       '1   ',


                                                                                                 _,,/ ' ~ - - - ,
Date:
                                                                                            Judge's signate

                                                                                   U.S.M.J. CATHY L. WALDOR
                                                                                       Printed name and title
